Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 1 of 21                          PageID #: 267


                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MAINE

TERRY R. BAKER and SHANTEL L. BAKER as
personal representatives of the estate of
CHANCE D. BAKER,

                Plaintiffs,                                       Civil No. 19-00251-JAW
        vs.

NICHOLAS SGT. GOODMAN,

                Defendant.

    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT, WITH INCORPORATED
                        MEMORANDUM OF LAW

        Defendant Nicholas Goodman, in his capacity as a City of Portland police sergeant,1

responded to a call from dispatch about a man in the parking lot of a busy strip mall who was

armed with what appeared to be a rifle or shotgun. Sgt. Goodman later learned that the man was

Chance Baker. Despite numerous requests by Sgt. Goodman to disarm, Mr. Baker did not

comply. Facing the prospect that Mr. Baker might, at any moment, open fire on Sgt. Goodman,

other officers, or innocent bystanders, Sgt. Goodman shot Mr. Baker. The shot turned out to be

fatal. Despite Mr. Baker’s tragic death and the eventual determination that Mr. Baker’s weapon

was a pellet gun, Sgt. Goodman’s use of force in this context was objectively reasonable –

therefore, it did not violate the Fourth Amendment. Moreover, Sgt. Goodman did not violate any

clearly established right. Therefore, he is protected by qualified immunity. Finally, as

discretionary function immunity is essentially coextensive with qualified immunity in the use of

force context, Sgt. Goodman is immune from suit with regard to the wrongful death claims

asserted by Plaintiffs Terry Baker and Shantel Baker, personal representatives of Mr. Baker’s

estate. Pursuant to Federal Rule of Civil Procedure 56 and Local Rules 7 and 56, Sgt. Goodman

requests summary judgment on all claims.



1At the time of the events in this case, Goodman was employed by the City of Portland as a police
sergeant. Goodman has since been promoted to the rank of police lieutenant. This Motion will refer to
Goodman as “Sgt. Goodman.”
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 2 of 21                        PageID #: 268


       I.      FACTS

       The factual background for the Motion for Summary Judgment is set forth in the

accompanying Statement of Material Facts, which is hereby incorporated by reference.

       II.     PROCEDURAL POSTURE

       The Plaintiffs commenced this action by a Complaint filed in the Cumberland County

Superior Court on February 13, 2019. Sgt. Goodman removed the case to this Court based on the

existence of a federal question. Upon motion by Defendant Coastal Pawn Shop (aka Lewiston

Pawn Shop, Inc.), the Court dismissed all claims against that party. (ECF No. 24). The

Complaint contains the following claims against Sgt. Goodman: excessive force in violation of

the Fourth Amendment of the United States Constitution brought pursuant to 42 U.S.C. § 1983

(Count One); excessive force in violation of the Maine Civil Rights Act (5 M.R.S. § 4682)

(“MCRA”) and Article 1, Section 5 of the Maine Constitution (Count Two); wrongful death

pursuant to 18-A M.R.S. § 2-804 (Count Three); and wrongful death – conscious pain and

suffering – pursuant to 18-A M.R.S. § 2-804 (Count Four). Defendant filed an Answer denying

the Complaint’s material allegations and asserting numerous affirmative defenses, including:

failure to state a cognizable claim; qualified immunity; and discretionary function immunity.

                            SUMMARY JUDGMENT STANDARD

       Pursuant to Rule 56, the Court may grant summary judgment “if the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). The rule affords the Court an

opportunity “to pierce the pleadings and to assess the proof in order to see whether there is a

genuine need for trial.” Garside v. Osco Drug, Inc., 895 F.2d 46, 50 (1st Cir. 1990) (citation

omitted). “In practice, [the] rule acts as a firewall to contain the blaze of cases that are so lacking

in either factual foundation or legal merit that trial would be a useless exercise.” Conward v.

Cambridge Sch. Comm., 171 F.3d 12, 18 (1st Cir. 1999) (citing Celotex Corp. v. Catrett, 477 U.S.

317, 323-24 (1986); Mesnick v. General Elec. Co., 950 F.2d 816, 822 (1st Cir. 1991)).

                                             Page 2 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 3 of 21                       PageID #: 269


       In response to a properly supported summary judgment motion, the nonmovant must

present “definite, competent evidence” to rebut issues upon which he or she bears the ultimate

burden of proof. Id. (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256-57 (1986) and

Garside, 895 F.2d at 48). The United States Court of Appeals for the First Circuit has

emphasized that “[t]his evidence ‘cannot be conjectural or problematic; it must have substance

in the sense that it limns differing versions of the truth which a factfinder must resolve at an

ensuing trial.’” Id. (citing Mack v. Great Atl. & Pac. Tea Co., 871 F.2d 179, 181 (1st Cir. 1989)

and Anderson, 477 U.S. at 249-50 (evidence that “is merely colorable or is not significantly

probative" cannot deter summary judgment)).

                                           ARGUMENT

       I.      SGT. GOODMAN IS PROTECTED BY QUALIFIED IMMUNITY.

       Plaintiffs assert a claim under 42 U.S.C. § 1983 alleging that Mr. Baker was subjected to

excessive force on February 18, 2017 – a claim that implicates the Fourth Amendment. See

Graham v. Connor, 490 U.S. 386, 394 (1989) (when a claim of excessive force is asserted as a

result of an arrest or investigatory stop of a free citizen, the claim is analyzed under the Fourth

Amendment). Plaintiffs also assert a parallel claim under the MCRA. This Court has noted that

the MRCA was patterned after Section 1983, including the defense of qualified immunity.

See Grenier v. Kennebec County, 733 F. Supp. 455, 458 n.6 (D. Me. 1990); Hegarty v. Somerset

County, 848 F. Supp. 257, 269 (D. Me. 1994) (“The same qualified immunity analysis applies

under the Maine Civil Rights Act as under § 1983.”). Therefore, the Court’s resolution of the

Section 1983 claim will also control the MCRA claim. Berube v. Conley, 506 F.3d 79, 85 (1st Cir.

2007) (“The disposition of a 42 U.S.C. § 1983 claim also controls a claim under the MCRA.”).

       Sgt. Goodman is entitled to summary judgment on the Plaintiffs’ civil rights claims based

on qualified immunity. “The doctrine of qualified immunity protects government officials ‘from

liability for civil damages insofar as their conduct does not violate clearly established statutory

or constitutional rights of which a reasonable person would have known.’” Pearson v. Callahan,

555 U.S. 223, 231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). As the First

                                            Page 3 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 4 of 21                       PageID #: 270


Circuit has emphasized, qualified immunity affords officers broad protection even in

circumstances in which they may have violated a plaintiff’s constitutional rights:

               Thus, the qualified immunity … allows as well for the inevitable reality that
            “law enforcement officials will in some cases reasonably but mistakenly
            conclude that [their conduct] is [constitutional], and . . . that . . . those
            officials like other officials who act in ways they reasonably believe to be
            lawful should not be held personally liable.” [Anderson v. Creighton, 483
            U.S. 635, 641 (1987) (emphasis added)]; [Burns v. Loranger, 907 F.2d 233,
            237 (1st Cir. 1990)]. In other words, qualified immunity sweeps so broadly
            that “all but the plainly incompetent or those who knowingly violate the law”
            are protected from civil rights suits for money damages.

Hegarty v. Somerset County, 53 F.3d 1367, 1373 (1st Cir. 1995) (emphasis in original) (quoting

Hunter v. Bryant, 502 U.S. 224, 229 (1991) (quoting Malley v. Briggs, 475 U.S. 335, 341

(1986))).

       In applying these standards, there are two relevant inquiries: whether the facts that a

plaintiff has alleged or shown make out a violation of a constitutional right; and whether that

right was “clearly established” at the time of the defendant’s alleged misconduct. Saucier v.

Katz, 533 U.S. 194, 201 (2001). The United States Supreme Court has held that these inquiries

do not have to occur in a particular order, and that a court is free to address the “clearly

established” issue without first determining whether the facts that a plaintiff has shown make

out a constitutional violation. Pearson, 555 U.S. at 236 (holding that the sequence set forth in

Saucier “should no longer be regarded as mandatory”).

       The “clearly established” prong of the qualified immunity test involves two questions: (1)

whether the legal contours of the constitutional right were sufficiently clear; and (2) whether in

the specific factual context of the case, the violation would have been clear to a reasonable

official. MacDonald v. Town of Eastham, 745 F.3d 8, 12 (1st Cir. 2014). Moreover, the Supreme

Court has held that “clearly established” for purposes of qualified immunity means that the

contours of the constitutional right are “sufficiently clear” that “every ‘reasonable official would

have understood that what he is doing violates that right.’” Ashcroft v. al-Kidd, 563 U.S. 731, 741

(2011) (emphasis added) (quoting Anderson v. Creighton, 483 U.S. 635, 640 (1987)). While the

Supreme Court does not require a case directly on point, “existing precedent must have placed

                                            Page 4 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 5 of 21                       PageID #: 271


the statutory or constitutional question beyond debate.” See id. (emphasis added) (citing

Anderson, 483 U.S. at 640 and Malley, 475 U.S. at 341).

       A. Sgt. Goodman did not violate Mr. Baker’s Fourth Amendment rights.

       A police officer’s use of deadly force is considered a seizure under the Fourth

Amendment. See Tennessee v. Garner, 471 U.S. 1, 7 (1985). The Fourth Amendment guarantees

“[t]he right of the people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures.” U.S. Const. amend. IV. The Supreme Court has held that

“the objective reasonableness of a particular seizure under the Fourth Amendment ‘requires a

careful balancing of the nature and quality of the intrusion on the individual’s Fourth

Amendment interests against the countervailing governmental interests at stake.’” Plumhoff v.

Rickard, 572 U.S. 765, 774 (2014) (quoting Graham, 490 U.S. at 396). That inquiry requires the

Court to assess the totality of the circumstances “from the perspective ‘of a reasonable officer on

the scene, rather than with the 20/20 vision of hindsight.’” Id. (quoting Graham, 490 U.S. at

396). The standard “[allows] for the fact that police officers are often forced to make split-

second judgments—in circumstances that are tense, uncertain, and rapidly evolving—about the

amount of force that is necessary in a particular situation.” Graham, 490 U.S. at 396-97. The

First Circuit has noted that its precedent is “comparatively generous” to officers facing “potential

danger, emergency conditions or other exigent circumstances,” providing “a fairly wide zone of

protection” for the police in borderline cases. Roy v. City of Lewiston, 42 F.3d 691, 695 (1st Cir.

1994) (citing Graham, 490 U.S. at 396-97 and Berube, 506 F.3d at 85).

       Supreme Court and the First Circuit precedent establishes that a use of deadly force is

reasonable – and, therefore, constitutional – when “at a minimum, a suspect poses an

immediate threat to police officers or civilians.” Jarrett v. Town of Yarmouth, 331 F.3d 140, 149

(1st Cir. 2003) (per curiam) (citing Garner, 471 U.S. at 11). And while a warning must generally

be given before force is used, if feasible, no “magic words” are required. Conlogue v. Hamilton,

906 F.3d 150, 157 (1st Cir. 2018). At the summary judgment stage, the Court must assess



                                            Page 5 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 6 of 21                      PageID #: 272


whether a reasonable jury could find that Sgt. Goodman violated Mr. Baker’s Fourth

Amendment rights under these standards.

       Based on the totality of the circumstances that confronted Sgt. Goodman, no reasonable

factfinder could conclude – within the fairly wide zone of protection afforded the police – that

Sgt. Goodman’s use of force was objectively unreasonable. Sgt. Goodman was dispatched to

Union Station Plaza in Portland – a busy strip mall – at 11:00 a.m. on a Saturday in response to

several 911 calls reporting an armed man walking around with what appeared to be a rifle or

shotgun. While in route to the scene, Sgt. Goodman also learned that people were reporting that

the man was waving a rifle or shotgun around and aiming it at people, at cars driving by, and at

various businesses within the Plaza, including Margarita’s and Subway restaurants. While Sgt.

Goodman also received reports that the weapon might be a BB gun, none of the information he

received in that regard was definitive. Pursuant to his training, Sgt. Goodman could not assume

that the weapon was a BB gun if it looked like a firearm.

       Shortly after arriving, Sgt. Goodman and another officer, Officer Kyle Knutson, observed

Mr. Baker from a distance of about 100 yards. From that distance, Sgt. Goodman could see Mr.

Baker brandishing a long weapon, holding it in a manner that the weapon could be fired at

others at any moment. Sgt. Goodman did not see Mr. Baker pumping the weapon and he was

not able to distinguish from that distance whether the weapon was a BB gun or a firearm.

       Based on a concern for people out and about in the Plaza, Sgt. Goodman repositioned

himself by a pickup truck about 114 feet from Mr. Baker. Officer Knutson joined Sgt. Goodman

at that position. Sgt. Goodman was aware that there were other officers on the scene and he

observed many people walking around the Plaza and heavy vehicular traffic on Congress Street.

       At that point, Sgt. Goodman observed Mr. Baker by the Subway restaurant, a few steps

from the entrance. Mr. Baker appeared to be manipulating the bolt area of the firearm – an area

that included the trigger – as if trying to figure out how to clear or load the weapon.

       Sgt. Goodman, who was in his full police uniform, started yelling to Mr. Baker. He

identified himself as a police officer and he instructed Mr. Baker to put the weapon down. He

                                            Page 6 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 7 of 21                        PageID #: 273


yelled the command to disarm several times. Sgt. Goodman did not see or hear anything to

indicate whether Mr. Baker was hearing him. However, Sgt. Goodman did observe Mr. Baker

level the gun, holding it parallel to the ground, and scan it over the Plaza, prompting Sgt.

Goodman to yell even louder that Mr. Baker needed to put the gun down. Sgt. Goodman yelled

to Mr. Baker numerous times to “please put your gun down, we don't want to have to shoot you.”

       At one point, after commanding Mr. Baker to put the weapon down, Sgt. Goodman

observed Mr. Baker put the weapon down by leaning the gun against the Subway building

approximately one foot from where he was standing, with the butt of the gun on the ground and

the barrel sticking straight up in the air. Sgt. Goodman then yelled for Mr. Baker to come

towards him. Instead of complying with Sgt. Goodman’s command, Mr. Baker reached into his

jacket pocket and pulled out what appeared to be a bottle of malt liquor, from which he started

to drink. While that was occurring, Sgt. Goodman observed a woman walk in close proximity to

Mr. Baker towards the Subway restaurant entrance.

       Despite Sgt. Goodman’s commands for Mr. Baker to come toward him and away from

the weapon, Sgt. Goodman observed Mr. Baker remain in position and pick the weapon back up.

Sgt. Goodman then observed Mr. Baker hold the gun at waist level, parallel to the ground, and

with the muzzle facing out. With the weapon in that position, Mr. Baker was capable of firing the

weapon at others at any moment. Sgt. Goodman and Officer Knutson observed Mr. Baker move

the barrel of the rifle over everybody in the parking lot several times, which they described using

terms such as scanning, lasering, flagging, and searching.

       Sgt. Goodman then observed Mr. Baker face his and Officer Knutson’s position, with his

weapon leveled at them. Sgt. Goodman then observed Mr. Baker begin to manipulate the gun in

a manner consistent with a bolt-action rifle, either trying to clear a malfunction or load a bullet

into it. Sgt. Goodman never once observed Mr. Baker pumping the gun like someone would a BB

gun. At that point, Sgt. Goodman believed the weapon was a rifle because (1) it looked like a

rifle; (2) he appeared to be manipulating it like a rifle; (3) the lever was up making the weapon

appear to have a regular-sized barrel; and (4) it had a large optic (telescopic sight) on top of it,

                                             Page 7 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 8 of 21                       PageID #: 274


which was inconsistent with Sgt. Goodman’s experience with BB guns or pellet guns. The

weapon looked to Sgt. Goodman – who has experience with firearms – like a hunting rifle, such

as a Marlin 30-30 or a .30-06.

       With Mr. Baker’s weapon leveled, Sgt. Goodman continued to yell at Mr. Baker to put the

gun down and that “I don’t want to shoot [you].” Someone in the crowd to Sgt. Goodman’s right

then yelled something like, “he’s pulling the trigger again” or “he’s pulling the trigger.” Officer

Knutson, who was still next to Sgt. Goodman, also heard someone to his right say something like

they heard a trigger click. At the time, Mr. Baker was standing with his rifle just steps from the

entrance of the Subway restaurant, and Sgt. Goodman noted that there were customers inside

Subway and the nail salon adjacent to Subway.

       With the barrel of Mr. Baker’s gun leveled and facing towards Mr. Knutson and Sgt.

Goodman, and Mr. Baker’s right hand apparently manipulating an area of the rifle that included

the bolt and the trigger, Sgt. Goodman fired a single shot from his police carbine at Mr. Baker.

At the time Sgt. Goodman fired his weapon, Sgt. Goodman believed Mr. Baker’s use of deadly

force on Mr. Knutson, Sgt. Goodman, or others present at the Plaza was imminent. This belief

was based on his training, education, and experience, as well as the totality of the circumstances,

including: the fact that Mr. Baker appeared to be manipulating the bolt as if trying to clear a

malfunction in the weapon, signaling to Sgt. Goodman that he may have tried to fire the weapon

already; that he had the weapon leveled on Sgt. Goodman and Officer Knutson (not pointed

towards his feet); that he had been waving the leveled weapon all around the parking lot; the

fact that a woman had walked right next to Mr. Baker just seconds before; and that there were so

many people in the area. Moreover, his observations coincided with the comment Sgt. Goodman

heard from a bystander about Mr. Baker pulling a trigger. In light of the totality of these

circumstances, no reasonable factfinder could conclude that Sgt. Goodman’s use of force to

protect himself, other officers, and other persons in the Plaza from a threat of imminent harm

was objectively unreasonable.

       This determination is consistent with prior decisions of this Court. For example, in

                                            Page 8 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 9 of 21                        PageID #: 275


Vincent v. Town of Scarborough, Civil No. 02-239-P-H, 2003 U.S. Dist. LEXIS 20910 (D. Me.

Nov. 20, 2003) (magistrate judge’s recommended decision), adopted by 2003 U.S. Dist. LEXIS

22934 (D. Me. Dec. 19, 2003), the Court ruled that three officers who had shot an armed

plaintiff were entitled to summary judgment with regard to the plaintiff’s excessive force claim.

Id. at *106. The officers were dispatched to a grocery store parking lot based on a report of an

armed man. Id. at *28. Upon arriving, the officers observed that the plaintiff, who was armed

with a .30-.30 caliber lever-action rifle, had unobstructed access to stores in an adjacent mall.

Id. at *31-33. The officers began to communicate with the plaintiff and ordered him to put the

rifle down. Id. at *44. The plaintiff did not comply. Id. at *44. During the course of the next few

minutes, the officers learned that the plaintiff might be deaf and suffering from mental health

issues. Id. at *47. However, with the assistance of a sign language interpreter, the officers

believed they made their request to disarm clear to the plaintiff and that he simply refused to do

so. Id. at *50-53. Eventually, the plaintiff took a shooting position and leveled the rifle at two of

the officers. Id. at *59-63. Believing the plaintiff was going to shoot him, one of the officers fired

at him. Id. at *61. The bullet struck the plaintiff’s shoulder, simulating the motion that occurs

when a weapon recoils. Id. Two other officers – seeing the plaintiff in this shooting position,

hearing a shot, seeing what appeared to be the recoil of the plaintiff’s weapon, and noting that

the plaintiff appeared to be manipulating the weapon as if to chamber another round – both

fired on the armed man. Id. at *63-64.

       Based on that record evidence, this Court concluded that the officers’ use of force did not

violate the plaintiff’s Fourth Amendment rights. The Court noted that a reasonable trier of fact

could not find that the officers’ use of lethal force at the moment it was employed by each of

them constituted excessive force. Id. at *108-09. With regard to the initial shooter, the Court

reasoned:

       Levier assumed a shooter’s stance and pointed a high-powered rifle at Trooper
       Sperrey. Regardless of whether Levier was turning his head from side to side and
       hesitating to fire (thus arguably indicating a lack of intention to shoot), Trooper
       Sperrey’s decision to deploy deadly force was objectively reasonable under the
       circumstances.

                                             Page 9 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 10 of 21                      PageID #: 276



Id. at *110-11 (citing Garner, 471 U.S. at 3 (use of deadly force found objectively reasonable

when “officer has probable cause to believe that the suspect poses a significant threat of death or

serious physical harm to the officer or others.”)). The Court applied similar reasoning to the

officers who opened fire based in part on a mistaken belief that the plaintiff had fired a shot at

other officers:

       So it was with Ramsdell and Moore, both of whom (i) saw Levier in a shooter's
       stance, aiming at Trooper Sperrey and others, (ii) heard a gunshot following a
       pause, and (iii) saw Levier's right shoulder recoiling backwards, as it might from
       the force of firing his own weapon, as a result of which they reasonably perceived
       that Levier had fired his weapon.

Id. at *112. The Court also held that the mistake by the later-firing officers did not preclude

summary judgment for them: “a mistake – even a fatal mistake – does not form the basis for

a Fourth Amendment violation if the use of force is objectively reasonable based on the facts and

circumstances known to the officer at the time.” Id. at *111-12 (citing Milstead v. Kibler, 243

F.3d 157, 165 (4th Cir. 2001) and Saucier v. Katz, 533 U.S. 194, 206 (2001)). The reasoning

applied by the Court in Vincent is directly applicable to the claims against Sgt. Goodman.

       Similarly, the First Circuit has recently upheld summary judgment for an officer on the

grounds that his use of deadly force did not violate the Fourth Amendment. In Fagre v. Parks,

985 F.3d 16 (1st Cir. 2020), a police officer was standing beside his cruiser when a suspect

operating a truck started accelerating in his direction. Id. at 20. Believing the suspect intended

to ram the cruiser, the officer moved away from his cruiser and up onto a snowbank. Id. The

officer nonetheless thought he was in imminent danger of being hit by the oncoming vehicle;

therefore, he shot into the vehicle. Id. Unfortunately, one of his shots hit a passenger in the

vehicle, killing her. Id. at 20-21. A representative of the passenger’s estate asserted a Fourth

Amendment claim against the officer alleging excessive force. This Court granted summary

judgment on the grounds that the passenger had not been “seized” under the Fourth

Amendment. Fagre v. Parks, Case No. 1:19-cv-00083-LEW, 2020 U.S. Dist. LEXIS 38447, at

*13-14 (D. Me. Mar. 5, 2020). The First Circuit affirmed, but it did so on a different basis.


                                           Page 10 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 11 of 21                              PageID #: 277


Specifically, the First Circuit held that the officer had not violated the passenger’s Fourth

Amendment rights because “[n]o reasonable jury could conclude that it was unreasonable for

[the officer] to believe that the driver posed an immediate threat” at the time the officer shot at

the truck. Id. at 23. The First Circuit rejected the argument made by the passenger’s estate that

the vehicle presented no immediate danger to the officer: “[The plaintiff’s] argument that [the

officer] was not in immediate danger because the Durango did not hit him and appeared to turn

slightly away from him before hitting the cruiser is not persuasive. It relies on the ‘20/20 vision

of hindsight,’ not the ‘perspective of a reasonable officer on the scene.’” Id. at 24 (quoting

Graham, 490 U.S. at 396).

        Notably, other circuit courts of appeal have held – on facts similar to those in this case –

that no Fourth Amendment violation had occurred. For example, in DeMerrell v. City of

Cheboygan, 206 Fed. Appx. 418 (6th Cir. 2006),2 the United States Court of Appeals for the

Sixth Circuit affirmed summary judgment in favor of an officer who shot and killed a man armed

with a weapon, which the officer later learned was a pellet gun. Id. at 421. The district court had

ruled that the officer did not violate the Fourth Amendment by using lethal force under the

circumstances:

        the [district] court noted that “all officers observed DeMerrell advance toward
        them with a gun pointed,” and at least one other officer was also ready to shoot
        DeMerrell. The [district] court thus found “overwhelming evidence of
        DeMerrell’s threatening conduct in the record” and that “Officer White was
        confronted with a dangerous, volatile situation involving an intoxicated, armed,
        aggressive suspect that, it is uncontested, was advancing on the police and
        defying commands to stand down.”

Id. at 424 (quoting the district court) (citations to the record omitted). The Sixth Circuit held

that the conclusion reached by the district court was compelled by the facts in light of circuit

precedent. Id. at 425 (citation omitted). In doing so, the Sixth Circuit emphasized two important

factors: one, the armed man advanced on the officers with his weapon pointed at them – which


2 Although DeMerrell was not recommended for full-text publication, the United States Court of Appeals
for the Sixth Circuit’s Local Rule 32.1(a) permits citation to that opinion. See also United States Court of
Appeals for the First Circuit Local Rule 32.1.0(b) (providing that citation to dispositions of other courts
are governed by Fed. R. App. P. 32.1 and the local rules of the issuing court).

                                               Page 11 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 12 of 21                             PageID #: 278


indicated an intent to inflict harm; and two, the officers attempted to convince the armed man

to drop his weapon before firing on him. Id. at 425. The fact that the man was armed with a

pellet gun – rather than a firearm, as the officers believed – did not prevent summary judgment

based on the lack of a Fourth Amendment violation.

        In Thorkelson v. Marceno, 849 F. App’x 879, 2021 U.S. App. LEXIS 8440 (11th Cir.

2021),3 the United States Court of Appeals for the Eleventh Circuit reached the same result on

facts similar to those in the instant case. Officers responded to a 911 call from a woman who

lived at a multi-level apartment complex. Id. at *2. While an officer was investigating which

resident made the call, another resident pointed out to the officer a woman in a second-level

apartment holding what appeared to be “‘a cock .22 single [rifle] or a pellet gun.’” Id. at *2-3.

Over the course of the next two hours the woman kept the officers at bay by wielding a gun that

resembled a hunting rifle and threatening "to kill" and "to shoot" them. Id. at *3-5. While a

neighbor reported seeing Thorkelson pump her gun as if it were a BB gun, the woman stated she

had “a rifle” and the officers were unable to discern whether the weapon was a BB gun or a

firearm. Id. at *4-5. The officers consistently implored the woman to drop her gun, but she never

responded to those requests. Id. at *4-5. When the woman walked onto the back porch of her

second-floor apartment and aimed her gun at an officer standing below her, another officer

shot her in the chest, killing her. Id. at *5-6.

        The Eleventh Circuit, in affirming summary judgment for the officer who took the shot,

concluded that no Fourth Amendment violation had occurred. Id. at *10. The court listed several

factors that indicated the officer acted reasonably:

        Thorkelson was behaving erratically and ignoring officers’ repeated requests to
        disarm and to come out of her apartment. “Non-compliance of this sort supports
        the conclusion that use of deadly force was reasonable.” Thorkelson wielded
        a gun that resembled and that she described as a lethal firearm. She threatened
        “to kill” and “to shoot” officers. Even though “an officer is not required to wait

3Although Thorkelson is an unpublished opinion, the Federal Rules of Appellate Procedure provides that
the opinion can be relied upon by other courts. See Fed. R. App. P. 32.1 (forbidding courts from
prohibiting or restricting the citation of unpublished opinions issued on or after January 1, 2007); see also
United States Court of Appeals for the First Circuit Local Rule 32.1.0(b) (providing that citation to
dispositions of other courts are governed by Fed. R. App. P. 32.1 and the local rules of the issuing court).

                                               Page 12 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 13 of 21                     PageID #: 279


       until an armed and dangerous [person] has drawn a bead on the officer or others
       before using deadly force,” Captain Casale did. Officers did not use any force
       during the lengthy period that Thorkelson was unapproachable and menacing.
       Captain Casale shot Thorkelson only when she posed an imminent threat to a
       defenseless officer.

Id. at *8-9 (citations omitted). Accord Tomas Garza v. Briones, 943 F.3d 740, 745 (5th Cir.

2019). In reaching its conclusion, the Eleventh Circuit directly addressed the uncertainty

surrounding the nature of the woman’s weapon:

       Thorkelson was holding a BB gun, but that fact was not evident to the officers.
       Bryant, Thorkelson’s neighbor, thought she possessed a lethal firearm and
       warned Deputy Woodby to take cover. Although the owner of the apartment
       occupied by Sergeant Nader reported seeing Thorkelson pump her gun like a
       BB gun, the gun resembled and Thompson stated that she had “a rifle.”
       Thorkelson’s husband reported that she had a BB gun, but he was not at the
       scene to observe what was in her hand. And the officers never had an unimpeded
       view of Thorkelson’s gun. Captain Casale had to make a split-second decision
       whether to shoot an unpredictable woman armed with a dangerous weapon
       aimed at a fellow officer. He was not required “to wait ‘and hope for the best.’”

Id. at *9-10 (citations omitted). Accord Tomas Garza v. Briones, 943 F.3d at 745-46.

       Finally, none of the elements that prevented the First Circuit from finding a use of deadly

force constitutional in other cases exist in this case. Unlike the armed man in McKenney v.

Mangino, 873 F.3d 75, 80 (1st Cir. 2017), cert. denied, 138 S. Ct. 1311, 200 L. Ed. 2d 475 (2018),

Mr. Baker did not constitute a passing risk to Sgt. Goodman, other officers, or the public. From

the time Sgt. Goodman arrived, he observed Mr. Baker pointing the weapon around the busy

parking lot in a manner that appeared to Sgt. Goodman as “scanning” for a target. At times, Mr.

Baker leveled the weapon in the direction of Sgt. Goodman and Officer Knutson. While it is true

that Mr. Baker momentarily put the weapon down to drink something, he did not heed Sgt.

Goodman’s orders to refrain from taking the weapon back up – an action that an objectively

reasonable officer could have understood to mean that Mr. Baker had not finished what he was

prepared to do with the weapon. Mr. Baker resumed leveling the weapon and “scanning” an area

of the Plaza that included the officers. Finally, just prior to taking the shot, Sgt. Goodman heard

someone say that “he’s pulling the trigger again” or “he’s pulling the trigger,” and he observed

Mr. Baker take an action that looked like a preparation to fire. An objectively reasonable officer


                                           Page 13 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 14 of 21                      PageID #: 280


could have concluded that these actions represented an imminent threat that required the use of

deadly force.

       In addition, unlike the armed man in McKenney, Mr. Baker consistently exhibited non-

compliant and threatening behavior in the face of efforts by Sgt. Goodman to de-escalate the

situation. It is undisputed that Sgt. Goodman, who was dressed in his police uniform, identified

himself to Mr. Baker as a police officer. It is also undisputed that Sgt. Goodman repeatedly

yelled to Mr. Baker to put the weapon down from the time he took a position about 40 yards

from Mr. Baker until he took the shot. Although Mr. Baker did not make any sudden

movements, he generally seemed intent on searching out a target. Mr. Baker rearmed himself

after putting the weapon down and taking a drink, despite Sgt. Goodman’s exhortations not to

do so and statement that he might have to shoot Mr. Baker if he rearmed. Finally, Mr. Baker

ignored warnings given by Sgt. Goodman when Mr. Baker resumed leveling the weapon, started

“scanning” an area that included Sgt. Goodman and Officer Knutson, and took actions

consistent with a preparation to fire.

       And unlike McKenney and Begin v. Drouin, 908 F.3d 829, 836 (1st Cir. 2018), the

officers and innocent bystanders were in sufficient proximity to Mr. Baker – who was apparently

armed with a long gun – to place them within the zone of danger. It is undisputed that the

events unfolded at around 11:00 a.m. on a Saturday in a busy strip mall parking lot adjacent to

Congress Street, a major street in Portland. It is also undisputed that the officers took a position

about 40 yards from the Plaintiff, that other officers were in the area, and that the parking lot

contained numerous people. In fact, shortly before Sgt. Goodman fired, he observed a woman

walk very near Mr. Baker to enter the Subway. Since Mr. Baker was armed with what appeared

to be a rifle or shotgun, the officers and the public were well within range of what Sgt. Goodman

believed was deadly force. See Conlogue, 906 F.3d at 158 (“When an individual is pointing a

loaded firearm, anyone within firing range is in proximity to the life-threatening danger.”).

       For all of these reasons, Sgt. Goodman’s use of force did not violate Mr. Baker’s Fourth

Amendment rights. Therefore, the Plaintiffs cannot satisfy the first prong of the qualified

                                           Page 14 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 15 of 21                       PageID #: 281


immunity test and Sgt. Goodman is entitled to summary judgment.

       B. An objectively reasonable officer in Sgt. Goodman’s position would not
          have known that his or her actions violated clearly established law.

       As of February 18, 2017, there was no “controlling case or robust consensus of cases”

from the Supreme Court or the First Circuit finding a Fourth Amendment violation under

circumstances similar to those confronting Sgt. Goodman. See District of Columbia v. Wesby,

138 S. Ct. 577, 591 (2018). To the contrary, cases in the First Circuit with facts analogous to

those in this case indicate that the officers were, at the very least, protected by immunity. See,

e.g., Berube v. Conley, 506 F.3d 79, 85 (1st Cir. 2007) (officers confronted by a large man armed

with a dangerous weapon protected to immunity); Roy v. Inhabitants of the City of Lewiston,

42 F.3d 691, 694 (1st Cir. 1994) (holding that summary judgment for officers who confronted a

man armed with knives was proper because “in our view a jury could not find that [the

defendant’s] conduct was so deficient that no reasonable officer could have made the same

choice”). Therefore, Sgt. Goodman is entitled to summary judgment due to a lack of clearly

established law.

       In any event, over the course of the past decade, the Supreme Court has repeatedly

emphasized that “[a]n officer ‘cannot be said to have violated a clearly established right unless

the right’s contours were sufficiently definite that any reasonable official in the defendant’s

shoes would have understood that he was violating it.’” Kisela v. Hughes, 138 S. Ct. 1148, 1153

(2018) (quoting Plumhoff v. Rickard, 572 U. S. 765, 778-79 (2014)); see also Ashcroft v. al-Kidd,

563 U.S. 731, 741 (2011). (“A Government official's conduct violates clearly established law

when, at the time of the challenged conduct, ‘[t]he contours of [a] right [are] sufficiently clear’

that every ‘reasonable official would [have understood] that what he is doing violates that

right.’”) (quoting Anderson v. Creighton, 483 U.S. 635, 640 (1987)). Two recent decisions – one

by the Supreme Court and another by the First Circuit – demonstrate that a reasonable officer in

Sgt. Goodman’s position at the time he shot Mr. Baker would not have understood that he or she

was violating a clearly established right.


                                             Page 15 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 16 of 21                      PageID #: 282


       In Kisela, the Supreme Court held that an officer accused of violating the Fourth

Amendment when he shot an armed woman through a chain link fence was entitled to qualified

immunity. At the time of the incident – which occurred in May of 2010 – the defendant officer

and another officer were investigating a report of a woman who was seen hacking a tree with a

large kitchen knife. Kisela, 138 S. Ct. at 1151. The officers received a description of the woman

from an eyewitness, who also told them that the woman had been behaving erratically. Id. Soon

thereafter, the officers (who had by then been joined by a third officer) observed a woman at a

nearby house who was soon joined by another woman carrying a large knife at her side. Id. The

two women were separated from the officers by a chain link fence with a locked gate. Id. When

the woman with the knife got within six feet of the other woman, the officers drew their guns

and told the armed woman several times to drop the knife. Id. While the other woman said “take

it easy” to the officers, the armed woman did not respond, nor did she comply with the officers’

commands. Id. At that point, the defendant officer fired four shots at the armed woman,

wounding her. Id. While the defendant officer conceded that he did not have concern for the

officers’ safety at the time he shot the armed woman, he believed the armed woman was a threat

to the other woman behind the fence. Id. at 1153. On those facts, the district court granted the

officer summary judgment on the basis of qualified immunity. The United States Court of

Appeals for the Ninth Circuit reversed the summary judgment decision.

       On certiorari review, the Supreme Court reversed the Ninth Circuit. After reviewing

general principles governing the use of force under the Fourth Amendment, the Supreme Court

emphasized the importance of assessing the legality of the defendant’s conduct in the

appropriate context for the purposes of qualified immunity: “This Court has repeatedly told

courts—and the Ninth Circuit in particular—not to define clearly established law at a high level

of generality.” Id. at 1152 (internal quotation marks omitted) (citing City and County of San

Francisco v. Sheehan, 575 U. S. 600, ___, 135 S. Ct. 1765, 1774 (2015) (quoting Ashcroft v. al-

Kidd, 563 U. S. 731, 742, 131 S. Ct. 2074, 179 L. Ed. 2d 1149 (2011))). The Supreme Court noted

that such specificity “‘is especially important in the Fourth Amendment context, where the Court

                                           Page 16 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 17 of 21                         PageID #: 283


has recognized that it is sometimes difficult for an officer to determine how the relevant legal

doctrine, here excessive force, will apply to the factual situation the officer confronts.’” Id. at

1152-53 (quoting Mullenix v. Luna, 577 U. S. 7, 12 (2015) (per curiam) (internal quotation

marks omitted)). Reviewing the facts outlined above, the Supreme Court concluded that “[t]his

is far from an obvious case in which any competent officer would have known that shooting

Hughes to protect Chadwick would violate the Fourth Amendment.” Id. at 1153.

       As was true for the officer in Kisela, the circumstances that confronted Sgt. Goodman

would not have indicated to a reasonable officer that the use of force would violate clearly

established law. In fact, the situation confronting Sgt. Goodman was even more compelling than

that in Kisela. As the dissent in Kisela noted, the record indicated that the armed woman made

no overt threat – in word or deed – toward the other woman behind the fence before the

defendant officer started shooting:

       Hughes stood stationary about six feet away from Chadwick, appeared
       “composed and content,” Appellant’s Excerpts of Record 109 (Record), and held a
       kitchen knife down at her side with the blade facing away from Chadwick.
       Hughes was nowhere near the officers, had committed no illegal act, was
       suspected of no crime, and did not raise the knife in the direction of Chadwick or
       anyone else.

Id. at 1155 (Sotomayor, J., dissenting). The dissent also noted that the defendant officer did not

give a warning before firing. Id. By contrast, Mr. Baker’s actions that morning had been

described as erratic, descriptions that Sgt. Goodman was able to confirm by his own

observations. Moreover, by leveling an apparent firearm and scanning the Plaza – passing the

barrel of the weapon in the direction of occupied Plaza businesses, people in the Plaza, moving

vehicles, and police officers – Mr. Baker engaged in an overt act that placed Sgt. Goodman in

imminent fear for himself and for others in the Plaza. Finally, Sgt. Goodman gave numerous

warnings throughout his interactions with Mr. Baker, including prior to firing. In short, if Kisela

is – as the Supreme Court described it – a “far from obvious case,” the circumstances

confronting Sgt. Goodman render his use of force even further from “the obvious case.”




                                             Page 17 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 18 of 21                        PageID #: 284


        The First Circuit’s decision in Conlogue suggests a similar conclusion. In that case, the

district court granted an officer who shot an armed man summary judgment on the basis of

qualified immunity. Conlogue, 906 F.3d at 152. In August of 2014, several officers engaged in a

standoff with a potentially suicidal man armed with a semi-automatic handgun. Id. at 152-54.

During the course of that standoff, the officers repeatedly warned the armed man to drop his

weapon. Id. The armed man began to alternate pointing the gun at himself and pointing it in the

direction of the officers, who were positioned about 200 feet away. Id. The officers yelled

additional warnings to disarm, to no avail. Id. When the armed man pointed the gun in the

direction of the officers and at a 45 degree angle above their heads, the officers again shouted to

the man to drop the weapon. Id. Eleven seconds later, with the armed man still pointing the gun

in the direction of the officers, an officer shot and killed him. Id. The First Circuit affirmed

summary judgment for the officer who took the shot on the basis of qualified immunity: “we are

satisfied that an objectively reasonable officer standing in Hamilton’s shoes would have thought

it appropriate to deploy deadly force against an armed man who, after a nearly three-and-one-

half-hour standoff in which he was repeatedly warned to drop his weapon, persisted in pointing

a loaded semi-automatic firearm narrowly above the heads of three officers and within easy

firing range.” Id. at 155.

        In reaching that conclusion, the First Circuit held that the circumstances confronting the

officer who took the shot would have led a reasonable officer to believe that even the most

elemental aspects of Fourth Amendment law had been satisfied. The First Circuit noted that

“two principal requirements must be satisfied before a police officer can lawfully use deadly

force”: one, that “a suspect poses an immediate threat to police officers or civilians”; and two,

that a warning be given before force is used, if feasible. Id. at 155-56. Since the First Circuit

concluded that the situation confronting the officer met those requirements, it ruled that the

officer was entitled to qualified immunity: “In the case at hand, the undisputed facts make it

abundantly clear both that it was reasonable for Hamilton to believe that Conlogue was an

imminent threat to others and that he was repeatedly warned to drop his weapon.” Id. at 156.

                                            Page 18 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 19 of 21                       PageID #: 285


       The First Circuit rejected several arguments offered by the estate of the armed man.

First, after reviewing pertinent case law, the court held that the fact the armed man’s gun may

have been pointed slightly above the officers’ heads at the time he was shot would not preclude

qualified immunity: “It follows, we think, that when the plaintiff suggests that a gun must be

pointed directly at an officer in order to be threatening, she is simply wrong.” Id. at 157. The

First Circuit also rejected the plaintiff’s argument that the officers were required to specifically

warn the armed man that they would shoot him if he did not drop his weapon: “Here, however,

Conlogue received several clear and timely warnings to drop his weapon, and he chose to ignore

them. No more was exigible.” Id. (citing Garner, 471 U.S. at 11-12). Finally, the First Circuit

dismissed the plaintiff’s effort to equate her case with McKenney, both because the armed man

pointed his gun in the direction of the officer immediately before he was shot and because the

armed man was in sufficient proximity to the officers to justify their fear of imminent harm:

“When an individual is pointing a loaded firearm, anyone within firing range is in proximity to

the life-threatening danger.” Id. at 158.

       The First Circuit’s comments in Conlogue – which referred to events that occurred in

2014 – indicate that Sgt. Goodman is entitled to qualified immunity. Like the officers in

Conlogue, Sgt. Goodman was confronted by a man who appeared to be armed with a firearm.

The armed man’s actions were erratic and threatening – pointing the weapon at passing cars, at

shops in the Plaza, and scanning a Plaza that contained police officers and numerous other

people. Sgt. Goodman shouted numerous warnings to the man to disarm. The man’s actions in

picking up the weapon (after momentarily leaning it against a building so that he could drink

from a bottle of alcohol) and returning to his “scanning” movements with the weapon leveled –

in spite of specific instructions from Sgt. Goodman not to pick it up because “I don’t want to

shoot you” – indicated an escalation of the situation. Finally, with the suggestion that the man

had attempted to fire or was attempting to fire – a suggestion prompted by statements from a

bystander and by Sgt. Goodman’s observation of the man’s apparent manipulation of the bolt

area of the weapon – Sgt. Goodman, believing harm to himself and others was imminent, fired.

                                            Page 19 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 20 of 21                          PageID #: 286


Based on the standard applied by the First Circuit in Conlogue, these facts compel a finding that

Sgt. Goodman is entitled to qualified immunity.

     II.  THE DEFENDANT IS PROTECTED FROM TORT LIABILITY BY
DISCRETIONARY FUNCTION IMMUNITY.

        The Plaintiffs’ wrongful death claims are barred by absolute discretionary function

immunity under the Maine Tort Claims Act, 14 M.R.S.A. §§ 8101-8118 (2003 & Supp. 2020)

(“the Act”).4 14 M.R.S. § 8111(1)(C); Carroll v. City of Portland, 1999 ME 131, ¶ 6, 736 A.2d 279,

282 (emphasizing that that discretionary function immunity is absolute). “[D]iscretionary

immunity … applies unless the defendants’ conduct ‘clearly exceeded, as a matter of law, the

scope of any discretion [they] could have possessed in [their] official capacity as [police

officers].’” Polley v. Atwell, 581 A.2d 410, 414 (Me. 1990) (emphasis in original). It is established

within this federal circuit that “[a] law enforcement official’s use of force is a discretionary act.”

Comfort v. Town of Pittsfield, 924 F. Supp. 1219, 1236 (D. Me. 1996); accord Roberts v. State,

1999 ME 89, ¶ 10, 731 A.2d 855.

        Maine precedent indicates that “the standard for deciding whether an officer accused of

use of excessive force is entitled to [the Act’s] immunity is the same as that for analyzing

whether he or she is entitled to qualified immunity with respect to a parallel federal Fourth

Amendment claim. Steeves v. City of Rockland, 600 F. Supp. 2d 143, 183 (D. Me. 2009) (citing

Smith v. Jackson, 463 F. Supp.2d 72, 81 (D. Me. 2006) and Richards v. Town of Eliot, 2001 ME

132, ¶ 32, 780 A.2d 281). Therefore, for the reasons discussed above with regard to qualified

immunity, Sgt. Goodman is entitled to summary judgment on the Plaintiffs’ wrongful death

claims because he is protected by discretionary function immunity.

                                           CONCLUSION

        For the reasons set forth in this Motion and incorporated memorandum of law, Sgt.

Goodman is entitled to summary judgment on all claims in this matter.



4Both the Act and the wrongful death statute provide that wrongful death claims are subject to the
provisions of the Act. See 14 M.R.S. § 8104-C; 18-C M.R.S. § 2-807(4).

                                             Page 20 of 21
Case 2:19-cv-00251-JAW Document 53 Filed 07/16/21 Page 21 of 21                  PageID #: 287


       Dated at Portland, Maine this 16th day of July, 2021.

                                     Attorneys for Defendant Nicholas Goodman
                                     MONAGHAN LEAHY, LLP
                                     95 Exchange Street, P.O. Box 7046
                                     Portland, ME 04112-7046
                                     (207) 774-3906
                                     jwall@monaghanleahy.com

                             BY:     /s/ John J. Wall, III
                                     John J. Wall, III


                                CERTIFICATE OF SERVICE

       I hereby certify that on July 16, 2021, I electronically filed Defendant’s Motion for
Summary Judgment, with Incorporated Memorandum of Law using the CM/ECF
system, which will provide notice to me and all other counsel of record.

       Dated at Portland, Maine this 16th day of July, 2021.

                                     Attorneys for Defendant Nicholas Goodman
                                     MONAGHAN LEAHY, LLP
                                     95 Exchange Street, P.O. Box 7046
                                     Portland, ME 04112-7046
                                     (207) 774-3906
                                     jwall@monaghanleahy.com

                             BY:     /s/ John J. Wall, III
                                     John J. Wall, III




                                          Page 21 of 21
